Case 1:24-cv-01204-RC   Document 59-15   Filed 09/23/24   Page 1 of 58




                        Exhibit 14
                         Case No. 24-1204
    Case 1:24-cv-01204-RC Document 59-15    Filed 09/23/24 Page 2 of 58
USCA Case #23-1084    Document #1991974       Filed: 03/27/2023 Page 1 of 57



                              No. 23-1084


            UNITED STATES COURT OF APPEALS
          FOR THE DISTRICT OF COLUMBIA CIRCUIT


              IN RE SGCI HOLDINGS III LLC, TEGNA INC.,
              AND CMG MEDIA CORPORATION, PETITIONERS



  CONDITIONAL PETITION FOR A WRIT OF MANDAMUS TO
     THE FEDERAL COMMUNICATIONS COMMISSION


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                                                                Exhibit 14 - Page 001
    Case 1:24-cv-01204-RC Document 59-15     Filed 09/23/24 Page 3 of 58
USCA Case #23-1084    Document #1991974        Filed: 03/27/2023 Page 2 of 57



                  CERTIFICATE AS TO PARTIES,
                 RULINGS, AND RELATED CASES

     Pursuant to D.C. Circuit Rule 28(a)(1), petitioners certify as follows:

     A.    Parties

     Petitioners: SGCI Holdings III LLC; TEGNA Inc.; CMG Media

Corporation

     Respondent: Federal Communications Commission

     Other Parties Before Agency: The NewsGuild-CWA; National

Association of Broadcast Employees and Technicians-CWA; Common

Cause; United Church of Christ, OC Inc.

     B.    Rulings Under Review

     This is an original action challenging the Commission’s unreasona-

ble delay in ruling on petitioners’ applications to transfer broadcast li-

censes and its order that they participate in an illegal proceeding that, if

allowed to continue, effectively denies the applications without any mer-

its inquiry. Hearing Designation Order, Consent to Transfer Control of

Certain Subsidiaries of TEGNA, Inc. to SGCI Holdings III LLC, MB

Docket No. 22-162, DA 23-149 (FCC Feb. 24, 2023). Petitioners seek a




                                     i
                                                                 Exhibit 14 - Page 002
    Case 1:24-cv-01204-RC Document 59-15   Filed 09/23/24 Page 4 of 58
USCA Case #23-1084    Document #1991974      Filed: 03/27/2023 Page 3 of 57



writ of mandamus compelling the Commission to rule on those applica-

tions by April 28, 2023.

     C.    Related Cases

     This case is related to the appeal in SGCI Holdings III LLC v. FCC,

No. 23-___ (D.C. Cir. filed Mar. 27, 2023), commenced concurrently with

this mandamus petition.




                                   ii
                                                               Exhibit 14 - Page 003
    Case 1:24-cv-01204-RC Document 59-15   Filed 09/23/24 Page 5 of 58
USCA Case #23-1084    Document #1991974      Filed: 03/27/2023 Page 4 of 57



            CORPORATE DISCLOSURE STATEMENT

     Pursuant to Federal Rule of Appellate Procedure 26.1 and Circuit

Rule 26.1, appellants disclose the following corporate parents:

     SGCI Holdings III LLC is a Delaware limited-liability company

that serves as an investment vehicle.1 Soohyung Kim is the sole manag-

ing member of SGCI Holdings III LLC. Standard General Master Fund

II L.P., a Cayman Islands limited partnership, owns 20.4% of the equity

of SGCI Holdings III LLC. Standard General Master Fund II L.P. is

wholly controlled by Standard General L.P., a Delaware limited partner-

ship. Standard General L.P. is wholly controlled by Standard General

Holdings L.P., a Delaware limited-liability company, which is in turn

wholly controlled by Standard General S. Corp., a Delaware corporation.

Standard General S. Corp. is wholly controlled by Acme Amalgamated

Holdings LLC, a Delaware limited-liability company. No corporation

owns more than 10% of Acme Amalgamated Holdings LLC. SGCI Hold-

ings LLC, a Delaware limited-liability company, owns 23.90% of the eq-



 1
   This certificate represents the ownership status of SGCI Holdings III
LLC as it currently stands. It therefore deviates from the ownership
structure described in the applications to the Commission, which show
the company’s post-closing owners.

                                   iii
                                                                  Exhibit 14 - Page 004
    Case 1:24-cv-01204-RC Document 59-15   Filed 09/23/24 Page 6 of 58
USCA Case #23-1084    Document #1991974      Filed: 03/27/2023 Page 5 of 57



uity of SGCI Holdings III LLC. SGCI Holdings LLC, is wholly controlled

by Standard General L.P. EPSG Master SPC Ltd., a Cayman Islands

limited corporation, owns 39.1% of the equity of SGCI Holdings III LLC.

EPSG Master SPC Ltd. is wholly controlled by EPSG SPC Ltd., a Cay-

man Islands limited corporation. EPSG SPC Ltd. is wholly controlled by

Standard General L.P. No other corporation owns more than 10% of the

equity of SGCI Holdings III LLC.

     TEGNA Inc. is a publicly traded Delaware corporation that pro-

vides media services. The Vanguard Group owns 10.52% of the stock of

TEGNA Inc. BlackRock, Inc. owns 12.2% of the stock of TEGNA Inc. No

other corporation owns more than 10% of the stock of TEGNA Inc.

     CMG Media Corporation is a Delaware corporation that provides

media services. CMG Media Corporation is wholly owned by CMG Media

Holdings II, Inc., a Delaware corporation. CMG Media Holdings II, Inc.,

in turn, is wholly owned by CMG Holdings, Inc., a Delaware corporation.

AP IX Titan Holdings, L.P., a Delaware limited partnership, owns 71%

of CMG Holdings, Inc. AP IX Titan Holdings, L.P. is owned by funds

managed by affiliates of Apollo Global Management, Inc. (AGM) and ul-

timately is controlled by AP IX (PMC) VoteCo, LLC (VoteCo), a Delaware


                                   iv
                                                               Exhibit 14 - Page 005
    Case 1:24-cv-01204-RC Document 59-15   Filed 09/23/24 Page 7 of 58
USCA Case #23-1084    Document #1991974      Filed: 03/27/2023 Page 6 of 57



limited liability company. AGM’s common shares are publicly traded on

the New York Stock Exchange (NYSE: APO). Neither VoteCo nor AGM

have any parent companies, and no corporation owns more than 10% of

either VoteCo or AGM. Cox Enterprises, Inc., a Delaware corporation,

owns 19.8% of CMG Holdings, Inc. No publicly traded company owns

more than 10% of the stock of Cox Enterprises, Inc. No other corporation

owns more than 10% of CMG Holdings, Inc.




                                   v
                                                               Exhibit 14 - Page 006
    Case 1:24-cv-01204-RC Document 59-15                        Filed 09/23/24 Page 8 of 58
USCA Case #23-1084    Document #1991974                           Filed: 03/27/2023 Page 7 of 57



                                  TABLE OF CONTENTS

TABLE OF AUTHORITIES ..................................................................... vii

GLOSSARY OF ACRONYMS ................................................................... xi

INTRODUCTION ....................................................................................... 1

RELIEF SOUGHT ...................................................................................... 6

STATEMENT OF JURISDICTION ........................................................... 6

ISSUE PRESENTED ................................................................................. 7

STATEMENT OF THE CASE ................................................................... 7

        A.      The Transaction ....................................................................... 7

        B.      Procedural History ................................................................... 8

ARGUMENT ............................................................................................. 18

        I.      The Commission Has Violated Its Clear Legal Duty
                To Act On The Broadcasters’ License-Transfer
                Applications And Ordered An Unlawful Hearing
                That Effectively Denies The Applications ............................ 21

        II.     The Commission Has Unreasonably Delayed Action ........... 31

        III.    The Broadcasters Have No Adequate Alternative
                Remedy ................................................................................... 39

CONCLUSION ......................................................................................... 42

CERTIFICATE OF COMPLIANCE

CERTIFICATE OF SERVICE




                                                    vi
                                                                                             Exhibit 14 - Page 007
      Case 1:24-cv-01204-RC Document 59-15                      Filed 09/23/24 Page 9 of 58
  USCA Case #23-1084    Document #1991974                         Filed: 03/27/2023 Page 8 of 57



                                TABLE OF AUTHORITIES

                                                                                               Page(s)
  CASES

  Air Line Pilots Ass’n v. Civil Aeronautics Board,
     750 F.2d 81 (D.C. Cir. 1984) ................................................................ 33

  In re American Rivers & Idaho Rivers United,
     372 F.3d 413 (D.C. Cir. 2004) .................................................... 5, 20, 32

  Bilingual Bicultural Coalition on Mass Media, Inc. v. FCC,
     595 F.2d 621 (D.C. Cir. 1978) .............................................................. 27

  In re Center for Biological Diversity,
     53 F.4th 665 (D.C. Cir. 2022) ........................................................ 20, 39

  Citizens for Jazz on WRVR, Inc. v. FCC,
     775 F.2d 392 (D.C. Cir. 1985) .............................................................. 29

  In re Core Communications, Inc.,
     531 F.3d 849 (D.C. Cir. 2008) .............................................................. 40

  FCC v. Fox Television Stations, Inc.,
    556 U.S. 502 (2009) .............................................................................. 28

* Free Enterprise Fund v. Public Company Accounting Oversight Board,
   561 U.S. 477 (2010) ..................................................................... 24, 25, 26

  Jarkesy v. SEC,
    34 F.4th 446 (5th Cir. 2022) ................................................................ 26

  Lucia v. SEC,
    138 S. Ct. 2044 (2018) .......................................................................... 25

  Myers v. United States,
    272 U.S. 52 (1926) ................................................................................ 24

       Authorities upon which we chiefly rely are marked with asterisks.




                                                    vii
                                                                                           Exhibit 14 - Page 008
    Case 1:24-cv-01204-RC Document 59-15                          Filed 09/23/24 Page 10 of 58
 USCA Case #23-1084    Document #1991974                             Filed: 03/27/2023 Page 9 of 57



  Oil, Chemical & Atomic Workers Int’l Union v. Zegeer,
     768 F.2d 1480 (D.C. Cir. 1985) ............................................................ 35

  Pittsburgh Press Co. v. Pittsburgh Comm’n on Human Relations,
     413 U.S. 376 (1973) .............................................................................. 37

* In re Public Employees for Environmental Responsibility,
   957 F.3d 267 (D.C. Cir. 2020) ..................................................... 22, 34, 36

  Sinclair Broadcasting Group, Inc. v. FCC,
    284 F.3d 148 (D.C. Cir. 2002) .............................................................. 36

  Stone v. FCC,
     466 F.2d 316 (D.C. Cir. 1972) .............................................................. 29

* Telecommunications Research & Action Center v. FCC,
   750 F.2d 70 (D.C. Cir. 1984) ................................................... 6, 20, 21, 33

  United States v. FCC,
    652 F.2d 72 (D.C. Cir. 1980) ................................................................ 38

  West Virginia v. EPA,
    142 S. Ct. 2587 (2022) .......................................................................... 28

  CONSTITUTIONAL PROVISIONS

  U.S. Const. Art. II, § 1, Cl. 1 .................................................................... 24

  U.S. Const. Art. II, § 3 .............................................................................. 24

  STATUTES

  5 U.S.C. § 706 ........................................................................................... 20

  5 U.S.C. § 1202.......................................................................................... 26

  5 U.S.C. § 3105.......................................................................................... 25

  5 U.S.C. § 7521.......................................................................................... 26

  15 U.S.C. § 18a............................................................................................ 9

  28 U.S.C. § 1651.................................................................................... 6, 20

                                                      viii
                                                                                               Exhibit 14 - Page 009
    Case 1:24-cv-01204-RC Document 59-15                        Filed 09/23/24 Page 11 of 58
USCA Case #23-1084    Document #1991974                           Filed: 03/27/2023 Page 10 of 57



47 U.S.C. § 151............................................................................................ 2

47 U.S.C. § 154.......................................................................................... 26

47 U.S.C. § 307.......................................................................................... 35

47 U.S.C. § 309........................................................ 9, 10, 22, 27, 28, 29, 35

47 U.S.C. § 310................................................................................ 9, 22, 27

47 U.S.C. § 402............................................................................ 5, 6, 17, 21

REGULATIONS

5 C.F.R. § 1201.137 ................................................................................... 26

47 C.F.R. § 0.61 ........................................................................................... 2

47 C.F.R. § 0.341 ....................................................................................... 25

47 C.F.R. § 1.46 ......................................................................................... 34

47 C.F.R. § 1.115 ........................................................................... 16, 17, 39

47 C.F.R. § 1.117 ....................................................................................... 17

ADMINISTRATIVE PROCEEDINGS

Hicks Broadcasting of Indiana,
  13 FCC Rcd 10662 (1998) .................................................................... 16

Patrick Sullivan,
  29 FCC Rcd 5421 (2014) ...................................................................... 16

Petroleum V. Nasby Corp.,
  8 FCC Rcd 4035 (1993) ........................................................................ 16

Tribune Media Co.,
  2019 WL 4440126 (F.C.C. Sept. 16, 2019) .......................................... 28

Univision Holdings, Inc.,
  7 FCC Rcd 6672 (1992) ........................................................................ 28



                                                     ix
                                                                                              Exhibit 14 - Page 010
    Case 1:24-cv-01204-RC Document 59-15                    Filed 09/23/24 Page 12 of 58
USCA Case #23-1084    Document #1991974                       Filed: 03/27/2023 Page 11 of 57



Voice in the Wilderness Broadcasting, Inc.,
  17 FCC Rcd 17061 (2002) .................................................................... 16

OTHER AUTHORITIES

FCC, Informal Timeline for Consideration of Applications for Transfers
  or Assignments of Licenses or Authorizations Relating to Complex
  Mergers, bit.ly/3FcxUMe (last visited Mar. 27, 2023) ........ 2, 10, 34, 35

Jon Schleuss, Thank FCC Chair Rosenworcel for Saving Local News,
  Newsweek (Mar. 17, 2023), http://bit.ly/3JDFktH ............................. 15

Sablea Ojea, Tegna Shares Plunge 25% as FCC Seeks Hearing on
  Standard General Deal, Dow Jones Newswires (Feb. 24, 2023),
  http://bit.ly/3lIYm9P ............................................................................ 15

Standard General and TEGNA Facts, Supporters, https://bit.ly/3mI3Lyl
  (last visited Mar. 27, 2023) .................................................................... 8




                                                  x
                                                                                        Exhibit 14 - Page 011
    Case 1:24-cv-01204-RC Document 59-15                 Filed 09/23/24 Page 13 of 58
USCA Case #23-1084    Document #1991974                    Filed: 03/27/2023 Page 12 of 57



                           GLOSSARY OF ACRONYMS

Administrative Law Judge .................................................................... ALJ

Federal Communications Commission ............................................... FCC

Public Employees for Environmental Responsibility ........................ PEER

Securities and Exchange Commission ..................................................SEC

Telecommunications Research & Action Center ................................ TRAC




                                               xi
                                                                                   Exhibit 14 - Page 012
    Case 1:24-cv-01204-RC Document 59-15   Filed 09/23/24 Page 14 of 58
USCA Case #23-1084    Document #1991974      Filed: 03/27/2023 Page 13 of 57



                           INTRODUCTION

      At the heart of administrative law is a basic bargain. Agencies get

the first crack at matters entrusted to them by Congress. But agencies

must decide such matters, and offer their rationales, in the open—so that

(among other reasons) federal courts, tasked with authoritatively inter-

preting federal laws, can conduct meaningful review.

      The Federal Communications Commission (Commission or FCC)

has defaulted on those obligations here. Petitioners SGCI Holdings III

LLC (Standard General), TEGNA Inc., and CMG Media Corporation (col-

lectively, broadcasters) presented the Commission in March 2022 with

applications to approve station-license transfers needed to effectuate

Standard General’s acquisition of TEGNA and its 61 television and two

radio broadcast stations. That transaction will increase investment in

local news and reduce market concentration. It will also enhance diver-

sity in broadcasting by tripling the number of minority-owned TV sta-

tions in the United States and increasing the number of Asian American–

owned Top-4 stations in the 50 largest U.S. markets from zero to 27.




                                    1
                                                               Exhibit 14 - Page 013
    Case 1:24-cv-01204-RC Document 59-15       Filed 09/23/24 Page 15 of 58
USCA Case #23-1084    Document #1991974          Filed: 03/27/2023 Page 14 of 57



      The Communications Act, 47 U.S.C. § 151 et seq., requires the FCC

to make a decision on whether to approve the proposed license transfers.

And it has had more than ample time to do so. The Commission’s policy

is to try to resolve license-transfer applications in 180 days, and compa-

rable transactions have been resolved in 62 to 182 days. FCC, Informal

Timeline for Consideration of Applications for Transfers or Assignments

of   Licenses   or   Authorizations       Relating   to   Complex     Mergers,

bit.ly/3FcxUMe (last visited Mar. 27, 2023); Add. 1038. The broadcasters

brought the matter to the Commission 14 months before the financing

commitments underlying the transaction run out on May 22, 2023. Their

applications made clear that the transaction must close before that date.

The license-transfer issues presented, moreover, were quite straightfor-

ward. The deal does not require any divestitures or regulatory waivers

and complies with all FCC rules and policies. And the rest of the Execu-

tive Branch has not objected to the transaction.

      The Commission has delegated authority over matters such as this

to its Media Bureau. 47 C.F.R. § 0.61(a). Yet after an uncommonly pro-

tracted process of public input and discovery, the Media Bureau an-

nounced last month that it was setting the matter for hearing, a process


                                      2
                                                                    Exhibit 14 - Page 014
    Case 1:24-cv-01204-RC Document 59-15     Filed 09/23/24 Page 16 of 58
USCA Case #23-1084    Document #1991974        Filed: 03/27/2023 Page 15 of 57



that has historically consumed years. The FCC has not responded to the

broadcasters’ urgent pleas to intervene. Rather, it has allowed a bureau

chief—who simultaneously serves on the Chairwoman’s personal staff—

to prevent the full Commission from having its say.

      The net effect is that the Commission is now poised to kill a highly

beneficial broadcast-market transaction without formally ordering the

deal’s demise. Critically, that course will frustrate judicial scrutiny of

the unstated reasons that have driven the FCC’s never-explained oppo-

sition. If the transaction is scuttled by the FCC’s failure to act, as it well

knows, the theoretical availability of back-end judicial review will be a

mirage.

      Worse still, the procedural device the Commission has used is itself

unlawful several times over. The Media Bureau ordered, and the Com-

mission (through inaction on prompt requests for intervention) has cho-

sen to permit, a hearing before an ALJ to resolve purported disputes on

two issues: the transaction’s potential effects on retransmission fees that

cable and satellite carriers pay for broadcast content and hypothetical

consequences for local broadcast stations’ staffing. But that hearing

would lack all of the essential ingredients of a lawful proceeding: the


                                      3
                                                                  Exhibit 14 - Page 015
    Case 1:24-cv-01204-RC Document 59-15    Filed 09/23/24 Page 17 of 58
USCA Case #23-1084    Document #1991974       Filed: 03/27/2023 Page 16 of 57



adjudicator assigned to oversee it cannot lawfully do so, because the Com-

mission’s ALJ is unconstitutionally insulated by three layers of for-cause

removal restrictions; the issues set for hearing lie outside the agency’s

statutory authority, as the agency itself has historically recognized; and

no material factual disputes on those issues exist that a hearing could

resolve.

      Moreover, whatever putative factual disputes might once have ex-

isted have been mooted by the good-faith efforts of Standard General to

resolve lingering concerns with voluntary, binding commitments. Stand-

ard General irrevocably waived its right to rely on the contractual provi-

sions that give rise to the agency’s concerns about retransmission fees.

And Standard General committed to avoiding journalism or newsroom

layoffs at stations for two years—a far-reaching commitment in an un-

predictable and volatile economic climate. Yet the Commission refused

to take yes for an answer and instead set the matter for hearing.

      The Commission is entitled—indeed, statutorily obligated—to ad-

judicate license-transfer applications, subject to judicial review. But fed-

eral law does not permit a pocket veto. Whatever decision the FCC




                                     4
                                                                 Exhibit 14 - Page 016
    Case 1:24-cv-01204-RC Document 59-15    Filed 09/23/24 Page 18 of 58
USCA Case #23-1084    Document #1991974       Filed: 03/27/2023 Page 17 of 57



reaches on the applications, the agency must own it. More importantly,

it cannot obstruct the path for affected parties to seek judicial redress.

      As set forth in the broadcasters’ filings in the direct appeal they

have commenced contemporaneously under 47 U.S.C. § 402(b), the ap-

propriate course is to construe the agency’s action setting the matter for

a hearing it knows will outlive the transaction as a denial of the license-

transfer applications and to reverse that decision on its merits.

      If the Court concludes, however, that it cannot review that decision

directly under Section 402(b), the alternative course is clear under this

Court’s precedent: the Court should grant a writ of mandamus to require

the Commission to resolve the broadcasters’ applications. As this Court

has recognized, “the primary purpose of the writ in circumstances like

these is to ensure that an agency does not thwart [the Court’s] jurisdic-

tion by withholding a reviewable decision.” In re American Rivers &

Idaho Rivers United, 372 F.3d 413, 419 (D.C. Cir. 2004). And to ensure

that the problem is not repeated and that the agency does not attempt to

frustrate judicial review of the merits through further delay, the Court

should direct the Commission to render a decision by April 28, so that




                                     5
                                                                 Exhibit 14 - Page 017
    Case 1:24-cv-01204-RC Document 59-15    Filed 09/23/24 Page 19 of 58
USCA Case #23-1084    Document #1991974       Filed: 03/27/2023 Page 18 of 57



any judicial review of its final action may be sought on an expedited basis

before the May 22 deadline for the transaction to close.

      It is regrettable that this significant but straightforward matter

has assumed an emergency posture in this Court. The broadcasters

brought it swiftly to the Commission more than a year ago, with more

than ample time to complete all conceivably necessary steps. But because

the Commission has chosen a path of unlawful inaction, this Court’s in-

tervention is urgently needed. The petition should be granted.

                           RELIEF SOUGHT

      The broadcasters respectfully request that, if the Court dismisses

their concurrently filed appeal, the Court issue a writ of mandamus di-

recting the Commission to reach a final decision on their applications by

April 28, 2023, to ensure an opportunity to obtain judicial review of that

decision before May 22, 2023, when financing essential to the transaction

will expire.

                  STATEMENT OF JURISDICTION

      This Court has jurisdiction over this mandamus petition under

47 U.S.C. § 402(b) and the All Writs Act, 28 U.S.C. § 1651(a). Telecom-




                                    6
                                                                Exhibit 14 - Page 018
    Case 1:24-cv-01204-RC Document 59-15   Filed 09/23/24 Page 20 of 58
USCA Case #23-1084    Document #1991974      Filed: 03/27/2023 Page 19 of 57



munications Research & Action Center v. FCC, 750 F.2d 70, 75-76 (D.C.

Cir. 1984) (TRAC).

                         ISSUE PRESENTED

      Whether the Court should grant a writ of mandamus to compel the

Commission—which, despite knowing that the deadline to close the

transaction is May 22, 2023, has declined to decide the applications, and

has now diverted the matter to an unlawful and futile hearing—to resolve

the applications in time to facilitate judicial review of the Commission’s

action before May 22.

                     STATEMENT OF THE CASE

      A.   The Transaction

      In February 2022, Standard General agreed to acquire broadcast

company TEGNA in an $8.6 billion transaction. Add. 6. The emerging

entity (New TEGNA) would be the largest minority-owned, female-led

broadcast television company in U.S. history—owning 61 full-power tel-

evision stations and two full-power radio stations. Add. 141, 147. The

deal would increase diversity while reducing concentration in broadcast

ownership: after closing, New TEGNA will control less national market

share than existing TEGNA does today. Add. 592. And the transaction



                                    7
                                                               Exhibit 14 - Page 019
    Case 1:24-cv-01204-RC Document 59-15    Filed 09/23/24 Page 21 of 58
USCA Case #23-1084    Document #1991974       Filed: 03/27/2023 Page 20 of 57



will triple the number of minority-owned TV stations in the United States

and increase the number of Asian American–owned Top-4 stations in the

50 largest U.S. markets from zero to 27. Add. 373, 933.

      The Standard General team has a proven record of and commit-

ment to supporting local control of stations. Standard General’s sole

managing member (Soo Kim) and New TEGNA’s proposed CEO (Deborah

McDermott) have each successfully owned and managed broadcast sta-

tions and have a strong history of enhancing stations’ service to their lo-

cal communities. Add. 612-614.

      The proposed transaction’s announcement prompted a groundswell

of support across the country praising the public benefits it would make

possible and the Standard General team’s experience. Legislators and

organizations spanning many sectors—civil rights, labor, broadcasting,

media, and business—filed more than 50 comments in support. Standard

General and TEGNA Facts, Supporters, https://bit.ly/3mI3Lyl (last vis-

ited Mar. 27, 2023).

      B.   Procedural History

      1.   The broadcasters have worked diligently with regulators to

secure approval. They did not need to secure any waivers under the Com-



                                    8
                                                                Exhibit 14 - Page 020
    Case 1:24-cv-01204-RC Document 59-15    Filed 09/23/24 Page 22 of 58
USCA Case #23-1084    Document #1991974       Filed: 03/27/2023 Page 21 of 57



mission’s rules, and they did not need to divest any stations because the

new entity—which will be smaller than TEGNA is today—is under the

agency’s cap on national television ownership and complies with the

FCC’s local-ownership limitations as well. Add. 592. The rest of the Ex-

ecutive Branch has already allowed the transaction to proceed. The pre-

merger waiting period required by the Hart-Scott-Rodino Act, 15 U.S.C.

§ 18a(a), (b)(1), expired without the Justice Department challenging the

transaction in court. And the Committee for the Assessment of Foreign

Participation in the United States Telecommunications Services Sector

has “no objection” to the deal. Add. 817.

      All that remains is the Commission’s approval to transfer the cor-

responding broadcast licenses, which the broadcasters applied for an ex-

traordinary 14 months before the deadline to close the deal. 47 U.S.C.

§ 310(d); Add. 138. The Communications Act requires that the Commis-

sion “shall grant” a license-transfer application if the agency finds, fol-

lowing public notice and an opportunity to comment, that the transfer

will serve “the public interest, convenience, and necessity.” 47 U.S.C.

§ 309(a).




                                    9
                                                                Exhibit 14 - Page 021
    Case 1:24-cv-01204-RC Document 59-15     Filed 09/23/24 Page 23 of 58
USCA Case #23-1084    Document #1991974        Filed: 03/27/2023 Page 22 of 57



      Third parties interested in the application may petition to deny it.

47 U.S.C. § 309(d). A petition to deny must contain “specific allegations

of fact sufficient to show,” inter alia, that granting the application would

be “prima facie inconsistent” with the public interest. Id. § 309(d)(1).

Those “specific allegations” must either be “supported by affidavit of a

person or persons with personal knowledge” or suitable for official notice.

Ibid. If the Commission finds “that there are no substantial and material

questions of fact and that a grant of the application would be consistent

with” the public interest, it “shall” grant the application. Id. § 309(d)(2).

The Act directs the Commission to designate the matter for a hearing

only if a “substantial and material question of fact” is shown or the Com-

mission is otherwise “unable to find” that the transfer is in the public

interest. Ibid.; see id. § 309(e).

      2.    For decades the Commission has committed to try to adjudi-

cate license-transfer applications within 180 days. FCC, Informal Time-

line, supra. But it made no pretense of keeping that commitment here.

      The broadcasters filed their license-transfer applications with the

Commission on March 10, 2022—two weeks after the transaction was

announced. Add. 138. The applications include all applicable merger


                                     10
                                                                  Exhibit 14 - Page 022
    Case 1:24-cv-01204-RC Document 59-15    Filed 09/23/24 Page 24 of 58
USCA Case #23-1084    Document #1991974       Filed: 03/27/2023 Page 23 of 57



and purchase agreements, securities term sheets, and 130 pages of ex-

hibits thoroughly describing the transactions, their public-interest bene-

fits, and their compliance with the Communications Act and FCC rules.

Add. 138-311.

      The Merger Agreement made clear that the final deadline for clos-

ing the transaction—after the broadcasters took all possible extensions—

is May 22, 2023. Add. 95. Financing commitments can never be extended

indefinitely, but the broadcasters secured more than enough runway to

secure approval and close the transaction. Today, however, in a mark-

edly different interest-rate environment, those financing commitments

cannot be replicated after they expire. Moreover, if Standard General

cannot close the transactions, it will face a $136 million termination fee.

Add. 21, 98-99.

      After six weeks of review, the Commission determined the applica-

tions were complete, accepted them for filing, and invited comments.

Add. 312. The agency also set out a pleading cycle for any third-party

petitions to deny, which were initially due on May 23, 2022. Ibid.

      Two sets of challengers filed petitions to deny the applications, pri-

marily on two grounds. First, they contended that the transaction is


                                    11
                                                                 Exhibit 14 - Page 023
    Case 1:24-cv-01204-RC Document 59-15    Filed 09/23/24 Page 25 of 58
USCA Case #23-1084    Document #1991974       Filed: 03/27/2023 Page 24 of 57



structured to increase retransmission fees—the fees that multichannel

video-programming distributors (such as Xfinity or DirecTV) pay stations

to retransmit their content. Add. 407-411, 497-502. The challengers’ re-

lied on provisions in the contracts between stations and distributors,

known as after-acquired clauses, under which a broadcasting group may

charge a distributor the same contractually specified fees for retransmit-

ting content from all of its stations, even stations acquired after the con-

tract took effect. Ibid. The challengers argued that Standard General

could exploit after-acquired clauses to demand higher overall retransmis-

sion fees from distributors based on the rates charged by one of the sta-

tions it was acquiring and that distributors would in turn pass those in-

creased costs on to consumers. Ibid. Additionally, several video distrib-

utors and affiliated trade groups filed comments suggesting that the

Commission impose economic conditions favorable to their interests—but

not opposing the deal. Add. 549-584.

      Second, the challengers argued that Standard General intended to

lay off staff at the stations it was acquiring. Add. 405-407, 496-497.

Those hypothesized layoffs, the challengers contended, might diminish

the quality of local news coverage. Ibid.


                                    12
                                                                 Exhibit 14 - Page 024
    Case 1:24-cv-01204-RC Document 59-15   Filed 09/23/24 Page 26 of 58
USCA Case #23-1084    Document #1991974      Filed: 03/27/2023 Page 25 of 57



      A flood of supportive comments argued that the deal would improve

female and minority representation in media, increase investment in lo-

cal news coverage, and improve working conditions for journalists. See

Supporters, supra.

      Despite the Commission’s general commitment to resolving license-

transfer matters in six months, its Media Bureau stretched the process

to over a year and counting. The Bureau repeatedly acquiesced in re-

quests by the challengers to extend the pleading-cycle deadlines. Add.

348, 663. And instead of a single public-comment period, the Bureau in-

vited an unprecedented three rounds over eight months. Add. 314, 729,

838. In addition, in May 2022, the challengers sought wide-ranging dis-

covery from the broadcasters, including information about advertising

revenues, private contracts between the broadcasters and their stations,

and proprietary strategy documents. Add. 324-339. The Commission

granted part of that request in June and the remainder in September.

Add. 351-356, 716-723.

      As a result of this extensive process, the record contains detailed

information about the broadcasters’ commitment to their employees, in-

vestments in local news, contractual relationships with stations, and


                                   13
                                                               Exhibit 14 - Page 025
    Case 1:24-cv-01204-RC Document 59-15    Filed 09/23/24 Page 27 of 58
USCA Case #23-1084    Document #1991974       Filed: 03/27/2023 Page 26 of 57



business strategies for their operations following the transaction. E.g.,

Add. 370-384, 730-753. Those materials dispel the challengers’ specula-

tive claims that the transaction will increase retransmission fees or re-

duced staff or coverage in newsrooms. See Add. 623-640.

      Included in that record are two commitments that Standard Gen-

eral voluntarily undertook during the proceedings to address any con-

ceivably realistic concerns regarding retransmission fees or staffing.

First, Standard General irrevocably waived its right to enforce any after-

acquired clauses that, by reason of the transaction, could have increased

retransmission fees for the TEGNA stations. Add. 831. Second, Stand-

ard General pledged not to conduct any journalism or newsroom layoffs

at the stations for at least two years. Add. 832-833. In fact, Standard

General plans to increase station-level staffing, as part of its broader in-

vestment in increasing news content, and cabined its commitment solely

to preserve its ability to respond to changing economic circumstances in

the distant future. Ibid.

      3.   Notwithstanding those proceedings, the comprehensive rec-

ord, and Standard General’s commitments, the Media Bureau deter-

mined—more than 11 months after the applications were filed—to order


                                    14
                                                                 Exhibit 14 - Page 026
    Case 1:24-cv-01204-RC Document 59-15    Filed 09/23/24 Page 28 of 58
USCA Case #23-1084    Document #1991974       Filed: 03/27/2023 Page 27 of 57



still more administrative process. On February 24—after an extraordi-

narily long review and just 88 days before the essential financing for the

transaction is set to expire —the Bureau designated the applications for

a hearing before an ALJ. Add. 938-968 (Hearing Order).

      The Hearing Order directed the ALJ to examine two issues:

(1) whether the transaction’s “structur[e] * * * is likely to trigger a rate

increase harmful to consumers, as a result of” after-acquired clauses, and

(2) whether the transaction “will reduce or impair localism, including

whether [it] will result in labor reductions at local stations.” Add. 939.

While agreeing with the challengers that the questions merited a hear-

ing, the Media Bureau did not identify any facts supported by affidavits

based on personal knowledge or subject to official notice. The Bureau’s

order cited only the challengers’ own allegations, which in turn relied on

magazine articles and the challengers’ interpretation of the record. Add.

947-948 (citing Add. 408-410, 498-500, 549-552, 563, 754-755, 861), 952-

953 (citing Add. 407, 725-727, 764-768, 770-772).

      4.   The broadcasters, the challengers, and the market alike rec-

ognize that the Hearing Order would sound the death knell for the trans-

action. Jon Schleuss, Thank FCC Chair Rosenworcel for Saving Local


                                    15
                                                                 Exhibit 14 - Page 027
    Case 1:24-cv-01204-RC Document 59-15   Filed 09/23/24 Page 29 of 58
USCA Case #23-1084    Document #1991974      Filed: 03/27/2023 Page 28 of 57



News, Newsweek (Mar. 17, 2023), http://bit.ly/3JDFktH; Sablea Ojea, Te-

gna Shares Plunge 25% as FCC Seeks Hearing on Standard General Deal,

Dow Jones Newswires (Feb. 24, 2023), http://bit.ly/3lIYm9P. For the past

30 years, no broadcast license transfer or assignment application desig-

nated for hearing has completed the process in fewer than 358 days; the

average such hearing takes 799 days. See Hicks Broadcasting of Indiana,

13 FCC Rcd 10662 (1998) (358 days); Petroleum V. Nasby Corp., 8 FCC

Rcd 4035 (1993) (493 days); Voice in the Wilderness Broadcasting, Inc.,

17 FCC Rcd 17061 (2002) (512 days); Patrick Sullivan, 29 FCC Rcd 5421

(2014) (1,834 days). The Bureau also bypassed a paper hearing which,

though it would still have taken too long, would have accelerated the

matter.

      The broadcasters moved on March 3, 2023, for the ALJ to certify to

the Commission their application for review of the Hearing Order. Add.

969-994; 47 C.F.R. § 1.115(e)(1). They argued that immediate Commis-

sion review was necessary to consider (1) whether Article II of the Con-

stitution prevents the ALJ from conducting a hearing; (2) whether the

Media Bureau had statutory authority to block the transaction on either

basis it raised; and (3) whether the Media Bureau erred as a matter of


                                   16
                                                               Exhibit 14 - Page 028
    Case 1:24-cv-01204-RC Document 59-15    Filed 09/23/24 Page 30 of 58
USCA Case #23-1084    Document #1991974       Filed: 03/27/2023 Page 29 of 57



law in concluding that there was an adequate basis to order a hearing.

Add. 972-973.      The ALJ denied that motion on March 16.              Add.

1039-1042.

      The next day, the broadcasters applied for review of the Hearing

Order with the Commission, raising similar arguments. Add. 1054-1090.

The broadcasters asked the FCC to waive its general prohibition on in-

terlocutory review in 47 C.F.R. § 1.115(e) and also urged it to take up the

applications sua sponte under 47 C.F.R. § 1.117. Add. 1043-1044. They

informed the FCC that they would seek review in this Court if it did not

act by March 27. Add. 1044. As of the date of this filing, however, the

Commission has taken no action on the application for review.

      5.     The broadcasters noticed an appeal of the Hearing Order un-

der 47 U.S.C. § 402(b) as an effective denial of the applications. SGCI

Holdings III LLC v. FCC, No. 23-___. In the event this Court determines

that the Hearing Order is not a final agency action, the broadcasters file

this conditional petition for writ of mandamus seeking to compel the FCC

to render a final, reviewable decision on the applications. In order to

ensure that both the appeal and petition can be resolved in time for the

transaction to close, the broadcasters are also moving to expedite consid-


                                    17
                                                                Exhibit 14 - Page 029
    Case 1:24-cv-01204-RC Document 59-15    Filed 09/23/24 Page 31 of 58
USCA Case #23-1084    Document #1991974       Filed: 03/27/2023 Page 30 of 57



eration of both the appeal and this petition and to consolidate the two

actions.

                              ARGUMENT

      The Commission has denied the license-transfer applications in all

but name. For nearly a year, the agency refused to resolve the applica-

tions—instead acquiescing to challengers’ demands for an unprecedented

process entailing multiple pleading cycles and extensive discovery. Then,

having been provided no legal basis for further inquiry and having un-

covered none, the Media Bureau nonetheless shunted the matter to a

completely indefensible ALJ “hearing”—fully aware that any hearing will

extend far beyond the deadline to close the transaction, effectively killing

the deal while attempting to evade judicial review.

      The “hearing” ordered by the Media Bureau combines multiple fun-

damental illegalities: it will be presided over by an officer unconstitu-

tionally insulated from removal; it purports to examine issues that are

beyond the Commission’s statutory authority to police; and it will adju-

dicate facts about those issues that the broadcasters stipulated in an ef-

fort to dispel any possible objection to the transaction. And the Hearing

Order directs the ALJ simply to report findings back to the Media Bu-



                                    18
                                                                 Exhibit 14 - Page 030
    Case 1:24-cv-01204-RC Document 59-15    Filed 09/23/24 Page 32 of 58
USCA Case #23-1084    Document #1991974       Filed: 03/27/2023 Page 31 of 57



reau, which will then render a decision subject to Commission review.

Compounding these problems, because the hearing could never occur be-

fore financing expires, the sole purpose for ordering it is to deny the ap-

plications without triggering judicial review.

      The Commission has pointedly refused to intervene despite the

broadcasters’ urgent requests for immediate review, content to let the

Hearing Order stand. Understood against the backdrop of the proceeding

and the impending deadline to close the deal, the Hearing Order’s import

is unmistakable: the Commission has chosen to kill the deal through

calculated inaction on a procedural maneuver, acting through a bureau

chief who simultaneously serves on the Chairwoman’s personal staff.

That is final agency action in every relevant sense. That the agency did

not formally memorialize its denial of the applications in a proper order

does not make its action any less definitive.

      If this Court concludes, however, that the Hearing Order is never-

theless not final, the proper course is clear under settled precedent: this

Court should issue a writ of mandamus to the Commission directing it to

terminate the unlawful proceeding ordered by the Media Bureau and to

adjudicate the applications in time to allow judicial review by May 22.


                                    19
                                                                Exhibit 14 - Page 031
    Case 1:24-cv-01204-RC Document 59-15     Filed 09/23/24 Page 33 of 58
USCA Case #23-1084    Document #1991974        Filed: 03/27/2023 Page 32 of 57



      The All Writs Act, 28 U.S.C. § 1651, expressly empowers the Court

to “issue all writs necessary or appropriate in aid of” its “jurisdiction[ ].”

Ibid. If the Hearing Order is not final, a writ of mandamus is needed

here to “protect” this Court’s “future jurisdiction” to review agency action;

its review would otherwise be frustrated by “an agency that fails to re-

solve disputes.” TRAC, 750 F.2d at 76. “Indeed, the primary purpose of

the writ in circumstances like these is to ensure that an agency does not

thwart [the Court’s] jurisdiction by withholding a reviewable decision.”

American Rivers, 372 F.3d at 419. The APA underscores the Court’s au-

thority and duty to grant relief, providing that a court “shall * * * compel

agency action unlawfully withheld or unreasonably delayed.” 5 U.S.C.

§ 706(1).

      The Court has held that a writ of mandamus should issue where

(1) the agency’s delay violates a clear legal duty, (2) the delay is “so egre-

gious” as to be unreasonable, and (3) the petitioner has no adequate al-

ternative remedy. In re Center for Biological Diversity, 53 F.4th 665, 670

(D.C. Cir. 2022) (citation omitted). Each of those elements is readily es-

tablished here.




                                     20
                                                                  Exhibit 14 - Page 032
    Case 1:24-cv-01204-RC Document 59-15    Filed 09/23/24 Page 34 of 58
USCA Case #23-1084    Document #1991974       Filed: 03/27/2023 Page 33 of 57



      The Communications Act by its terms obligates the Commission to

grant or deny each license-transfer application it receives. If the Hearing

Order does not constitute a denial, then the Commission has indisputably

defaulted on its duty to adjudicate the applications.

      The Commission’s delay in acting is also egregious. After dragging

its feet for nearly a year in full view of the known time constraints, the

agency has tacked on a legally unwarranted procedural detour that it

knows (absent judicial intervention) will end the deal. That delay oper-

ates to kill the deal free from judicial scrutiny. The Commission’s con-

duct is the epitome of “impropriety lurking behind agency lassitude.”

TRAC, 750 F.2d at 80 (citation omitted).

      Finally, if the broadcasters’ direct appeal under 47 U.S.C. § 402(b)

cannot go forward, they necessarily have no adequate remedy at law, or

indeed any other remedy. In that event, it is mandamus or nothing.

I.    The Commission Has Violated Its Clear Legal Duty To Act
      On The Broadcasters’ License-Transfer Applications And
      Ordered An Unlawful Hearing That Effectively Denies The
      Applications

      A.   The Communications Act gives the Commission a legal duty

to act on the broadcaster’s license-transfer applications. An application

to transfer a station license “shall be disposed of” by the Commission “as

                                    21
                                                                Exhibit 14 - Page 033
    Case 1:24-cv-01204-RC Document 59-15    Filed 09/23/24 Page 35 of 58
USCA Case #23-1084    Document #1991974       Filed: 03/27/2023 Page 34 of 57



if the proposed transferee” were applying for a new license. 47 U.S.C.

§ 310(d) (emphasis added). For new applicants, the Commission, upon

the filing of an application, “shall determine * * * whether the public

interest, convenience, and necessity will be served by the granting of such

application”—and, if so, the Commission “shall grant such application.”

Id. § 309(a) (emphases added). And where, as here, the Commission re-

ceives a petition to deny the application, if the Commission finds that the

petition and accompanying submission do not establish “substantial ma-

terial questions of fact and that a grant would be consistent with” the

public interest, then the Commission “shall” grant the applications. Id.

§ 309(d)(2) (emphasis added).

      Congress’s repeated use of mandatory language in those provisions

makes the Commission’s legal duty indisputable. The FCC must consider

and decide every license-transfer application it receives. See In re Public

Employees for Environmental Responsibility, 957 F.3d 267, 273 (D.C. Cir.

2020) (PEER) (agency “may not ignore this clear command” where stat-

ute provided that it “shall” perform action). Ignoring an application is

not an option.




                                    22
                                                                Exhibit 14 - Page 034
    Case 1:24-cv-01204-RC Document 59-15      Filed 09/23/24 Page 36 of 58
USCA Case #23-1084    Document #1991974         Filed: 03/27/2023 Page 35 of 57



      B.    As explained above and in the broadcasters’ direct-appeal fil-

ings, the best view of the record is that the Commission has denied the

applications already by allowing its Media Bureau to route the matter

through a further procedural morass. The Commission declined to over-

turn or even timely review the Hearing Order, knowing that delay beyond

the deadline is the deal’s death knell. But if the Court holds that the

order is not final, then the Commission will necessarily have failed to

fulfill its legal duty to decide the applications.

      The Commission’s only conceivable defense is that it is still carrying

out its duty to adjudicate the applications by allowing the ALJ hearing

ordained by the Media Bureau to go forward. That defense runs aground

for the same basic reason: the Commission knows that the hearing can-

not be completed before the critical financing expires. The fastest license-

transfer hearing in the past 30 years took a year, and on average the

hearings take 799 days. See p. 16, supra. The FCC’s Enforcement Bu-

reau acknowledged before the ALJ that it would be “impossible” to re-

solve the applications by May 22. Add. 1034. Undertaking—at the last

moment, and after an extraordinary delay—a procedure that the agency




                                      23
                                                                  Exhibit 14 - Page 035
    Case 1:24-cv-01204-RC Document 59-15    Filed 09/23/24 Page 37 of 58
USCA Case #23-1084    Document #1991974       Filed: 03/27/2023 Page 36 of 57



has conceded cannot be completed in time to be relevant hardly satisfies

the Commission’s nondiscretionary duty to act.

      But even setting aside issues of timing, the Commission cannot con-

tend that the ALJ hearing is a permissible (let alone necessary) part of

its adjudication of the applications, for three independent reasons. First,

the federal officer slated to preside and render the initial decision is un-

constitutionally insulated from removal. Second, the issues designated

for the hearing lie outside the Commission’s authority. And third, no

substantial question regarding any material fact has been established.

      1.   The Hearing Order is unlawful out of the gate because it as-

signs responsibility for holding the hearing to a federal officer who is im-

permissibly protected from Executive control. Article II of the Constitu-

tion “vests ‘[t]he executive Power * * * in a President of the United States

of America,’ who must ‘take Care that the Laws be faithfully executed.’ ”

Free Enterprise Fund v. Public Company Accounting Oversight Board,

561 U.S. 477, 483 (2010) (quoting U.S. Const. Art. II, § 1, Cl. 1, § 3). The

President has the power to hold Executive officers accountable by (among

other things) “removing them from office, if necessary.” Id.; see Myers v.

United States, 272 U.S. 52, 117 (1926).


                                    24
                                                                 Exhibit 14 - Page 036
    Case 1:24-cv-01204-RC Document 59-15     Filed 09/23/24 Page 38 of 58
USCA Case #23-1084    Document #1991974        Filed: 03/27/2023 Page 37 of 57



      The Supreme Court has made clear that, when two layers of for-

cause removal protection stand between the President and an inferior

officer, the President can no longer “oversee” the officer or “attribute the

[officer’s] failings to those whom he can oversee.” Free Enterprise Fund,

561 U.S. at 496 (emphasis omitted). That structure, the Court held, is

“incompatible with the Constitution’s separation of powers.” Id. at 498.

A fortiori, an inferior officer shielded by three layers of for-cause removal

restrictions is impermissibly beyond the President’s control.

      That is precisely the position of the ALJ, whom the Commission

charged to conduct the hearing in this matter. The ALJ is an inferior

officer (not an employee) under the Supreme Court’s decision in Lucia v.

SEC, 138 S. Ct. 2044 (2018), which addressed closely analogous ALJs of

the Securities and Exchange Commission (SEC). Like those officers, the

FCC’s ALJ holds a “continuing office established by law” and “exercise[s]

significant discretion” in carrying out her “authority * * * to ensure fair

and orderly adversarial hearings.” Id. at 2052-2053 (citation omitted);

see 5 U.S.C. § 3105; 47 C.F.R. § 0.341.

      The Commission’s ALJ is also subject to three levels of for-cause

removal restrictions:


                                     25
                                                                  Exhibit 14 - Page 037
    Case 1:24-cv-01204-RC Document 59-15    Filed 09/23/24 Page 39 of 58
USCA Case #23-1084    Document #1991974       Filed: 03/27/2023 Page 38 of 57



           The Commission may remove the ALJ only if the Merit Sys-
            tem Protection Board first finds good cause to do so. 5 U.S.C.
            § 7521(a); 5 C.F.R. § 1201.137.

           Members of that Board, in turn, “may be removed by the Pres-
            ident only for inefficiency, neglect of duty, or malfeasance in
            office.” 5 U.S.C. § 1202(d).

           And the FCC Commissioners serve statutorily fixed terms,
            47 U.S.C. § 154(c)(1), and thus under Supreme Court prece-
            dent are presumed to be removable only for cause, see Free
            Enterprise Fund, 561 U.S. at 487.

To remove an ALJ over the objection of incumbent subordinates, the

President thus must overcome three layers of for-cause removal protec-

tion.

        Those three levels embed the ALJ “within a Matryoshka doll of ten-

ure protections,” wholly insulated from presidential oversight in violation

of Article II. Free Enterprise Fund, 561 U.S. at 497. As the Fifth Circuit

recently recognized in invalidating a materially indistinguishable triple-

for-cause-removal regime for SEC ALJs, the Supreme Court’s decision in

Free Enterprise Fund forecloses the even greater insulation that Con-

gress has purported to give this officer. Jarkesy v. SEC, 34 F.4th 446,

464 (5th Cir. 2022), petition for cert. pending, No. 22-859 (filed Mar. 8,

2023). The broadcasters cannot lawfully be made to appear before, and

have their applications adjudicated in the first instance by, an inferior


                                     26
                                                                Exhibit 14 - Page 038
    Case 1:24-cv-01204-RC Document 59-15     Filed 09/23/24 Page 40 of 58
USCA Case #23-1084    Document #1991974        Filed: 03/27/2023 Page 39 of 57



officer whom the President is unconstitutionally prohibited from super-

vising.

      2.   The Hearing Order is independently unlawful because the

Commission lacks statutory authority to block a transaction on either of

the grounds the hearing is slated to assess: supposedly increased re-

transmission fees and decreased station-level employment. The Commis-

sion cannot fulfill its duty to decide the broadcasters’ applications by set-

ting for a hearing matters it lacks power to address.

      The Communications Act charges the Commission with evaluating

whether proposed license transfers will “serv[e]” the “public interest.” 47

U.S.C. § 309(a); see id. § 310(d). That directive does not give the Com-

mission its own “broad license to promote the general public welfare”;

Congress obligated the agency to pursue “the purposes of the regulatory

legislation.” Bilingual Bicultural Coalition on Mass Media, Inc. v. FCC,

595 F.2d 621, 628 (D.C. Cir. 1978) (en banc) (citation omitted). Nothing

in the statute suggests that the agency can or should intervene in arm’s-

length private contracts or employment practices. Indeed, this Court has

held that the Communications Act prohibits the Commission from con-

sidering nondiscriminatory employment practices. Id. at 628.


                                     27
                                                                  Exhibit 14 - Page 039
    Case 1:24-cv-01204-RC Document 59-15     Filed 09/23/24 Page 41 of 58
USCA Case #23-1084    Document #1991974        Filed: 03/27/2023 Page 40 of 57



      In fact, the Commission has (until now) disclaimed power to regu-

late retransmission consent rates and nondiscriminatory hiring prac-

tices, recognizing that neither is an appropriate “public interest” consid-

eration in reviewing an application.        Tribune Media Co., 2019 WL

4440126, at *5 (F.C.C. Sept. 16, 2019); Univision Holdings, Inc., 7 FCC

Rcd 6672, 6683 n.45 (1992). That “want of assertion of power by those

who presumably would be alert to exercise it” is “significant in determin-

ing whether such power was actually conferred.” West Virginia v. EPA,

142 S. Ct. 2587, 2610 (2022) (citation omitted). And if the Commission

(not the Media Bureau) wanted to change that position, it would need to

do so avowedly while addressing reliance interests engendered by the old

policy. See FCC v. Fox Television Stations, Inc., 556 U.S. 502, 515 (2009).

      3.   Finally, the Hearing Order further contravenes the Commu-

nications Act—and the hearing it directs cannot be deemed to fulfill the

Commission’s duty to rule on applications—because no evidence was ten-

dered by parties challenging the transaction that could satisfy the statu-

tory threshold to trigger a hearing.

      Section 309(d) of the Act makes clear that a hearing is warranted

where the challenging party’s petition to deny sets forth “specific allega-


                                       28
                                                                 Exhibit 14 - Page 040
    Case 1:24-cv-01204-RC Document 59-15     Filed 09/23/24 Page 42 of 58
USCA Case #23-1084    Document #1991974        Filed: 03/27/2023 Page 41 of 57



tions of fact” showing that granting the application “would be prima facie

inconsistent with” the public interest. 47 U.S.C. § 309(d)(1). Those alle-

gations must either be “supported by affidavit” by witnesses with “per-

sonal knowledge” or concern a proper subject of “official notice.” Ibid.

And the challengers’ allegations and any supporting evidence still do not

warrant a hearing unless they establish a “substantial” question of “ma-

terial” fact. Id. § 309(d)(2); see Citizens for Jazz on WRVR, Inc. v. FCC,

775 F.2d 392, 394-95 (D.C. Cir. 1985). If a petition to deny contains only

“ultimate, conclusionary” facts or makes “general allegations on infor-

mation and belief, supported by general affidavits,” then no hearing is

justified. Stone v. FCC, 466 F.2d 316, 322 (D.C. Cir. 1972) (citation omit-

ted).

        No colorable basis exists to conduct a hearing because the challeng-

ers categorically failed to meet their burden of going forward. None of

the items the Media Bureau identified comes close to establishing a sub-

stantial dispute of a material fact based on sworn affidavits or officially

noticeable facts. Each of the documents the Bureau cited as evidence

that the transaction would “increase retransmission consent fees,” Add.

947, either provided no supporting evidence at all, addressed issues irrel-


                                     29
                                                                 Exhibit 14 - Page 041
    Case 1:24-cv-01204-RC Document 59-15    Filed 09/23/24 Page 43 of 58
USCA Case #23-1084    Document #1991974       Filed: 03/27/2023 Page 42 of 57



evant to the broadcasters’ intent in agreeing to the transaction, relied on

unsworn documents, or expressed concern only that higher fees might

result from the transaction. Add. 947-948 (citing Add. 408-410, 498-500,

549-552, 563, 754-755, 861). Likewise, none of the sources the Bureau

cited as proof that Standard General intends to “reduce local jobs” after

the transaction closes points to a single statement supported by an affi-

davit and personal knowledge. Add. 952-953 (citing Add. 407, 725-727,

764-768, 770-772).

      In any event, binding commitments that Standard General has

made fully address both issues that the agency invoked to justify setting

the matter for hearing. Standard General has irrevocably waived its

right to enforce any after-acquired clauses that could have increased re-

transmission fees for the stations it acquires. Add. 831. And Standard

General has made a binding commitment not to conduct any newsroom

staffing reductions at TEGNA stations for at least two years after the

transactions. Add. 832-833. No record evidence casts any doubt on either

commitment. And if the Commission had lingering concerns, it could

have approved the transactions while making fulfillment of those self-

imposed obligations conditions of approval. The hearing that the Media


                                    30
                                                                Exhibit 14 - Page 042
    Case 1:24-cv-01204-RC Document 59-15    Filed 09/23/24 Page 44 of 58
USCA Case #23-1084    Document #1991974       Filed: 03/27/2023 Page 43 of 57



Bureau ordered is thus a procedural solution in search of any problem

cognizable under the Communications Act.

                                  *****

      The ALJ hearing prescribed by the Hearing Order is legally defi-

cient at every turn: the assigned officer cannot constitutionally preside,

the issues set for hearing are not within the agency’s authority, and the

challengers’ threadbare submissions fail as a matter of law to create any

legally relevant factual dispute requiring a hearing. The Commission

cannot contend that it is complying with its statutory duty to adjudicate

the applications by conducting the hearing. That ruse avoids a formal

decision on the merits.

II.   The Commission Has Unreasonably Delayed Action

      It follows that, if the Commission has not already effectively denied

the applications, its delay in acting is unreasonable and egregious. Alt-

hough the broadcasters sought the agency’s approval with more than am-

ple time for the ordinary process to run its course, their submission also

apprised the Commission of the outer temporal limits for consummating

the transaction. Add. 95 (transaction document establishing May 22,

2023, as final extension date). And as economic conditions have radically



                                    31
                                                                Exhibit 14 - Page 043
    Case 1:24-cv-01204-RC Document 59-15    Filed 09/23/24 Page 45 of 58
USCA Case #23-1084    Document #1991974       Filed: 03/27/2023 Page 44 of 57



changed, the financing underlying the transaction cannot be replicated

today. Yet in the face of those time constraints, the Commission’s Media

Bureau adopted an unprecedented and elongated process with three

rounds of public input and extensive discovery. See p. 13, supra. And

then, after nearly a year—and with the drop-dead deadline to complete

the transaction less than three months away—the agency relegated the

matter to the administrative backwater of an ALJ hearing. For the past

30 years, it appears that no hearing on a petition to deny has ever con-

cluded in fewer than 300 days, and they typically span more than two

years. See p. 16, supra.

      The Commission’s knowing acquiescence in this course can be ex-

plained only as its acceptance of the outcome the Hearing Order dictated:

preventing the transaction. Its attempt to achieve that result while frus-

trating the broadcasters’ right to judicial review on the merits is per se

unreasonable. The paradigmatic purpose of mandamus in this context is

to ensure that agencies do not frustrate reviewing courts’ jurisdiction “by

withholding a reviewable decision.” American Rivers, 372 F.3d at 419.

Unless this Court compels the Commission to decide the license-transfer

applications in time to seek judicial review of the merits, the Commis-


                                    32
                                                                Exhibit 14 - Page 044
    Case 1:24-cv-01204-RC Document 59-15      Filed 09/23/24 Page 46 of 58
USCA Case #23-1084    Document #1991974         Filed: 03/27/2023 Page 45 of 57



sion’s inaction and procedural posturing will ultimately oust this Court

of jurisdiction to review the substance of what the Commission will have

accomplished. Agency foot-dragging that lacks any rational explanation

other than insulating the agency’s determinations from judicial review

necessarily constitutes unreasonable, egregious delay.

      The factors this Court identified in TRAC to guide its assessment

of the unreasonableness of agency delays reinforce that conclusion.

TRAC identified six nonexclusive considerations:         (1) evaluating the

length of the delay through a “rule of reason”; (2) any statutory deadline

or “other indication” of the intended pace; (3) the nature of the agency’s

action; (4) collateral effects on other agency priorities; (5) the “nature and

extent of the interests prejudiced by delay”; and (6) although unnecessary

for unreasonable delay, any “impropriety lurking behind agency lassi-

tude.” TRAC, 750 F.2d at 80 (citations omitted). All six factors support

mandamus here.

      Rule of Reason. Whether a delay is unreasonable is “closely tied

to the particular facts of the case,” Air Line Pilots Ass’n v. Civil Aero-

nautics Board, 750 F.2d 81, 86 (D.C. Cir. 1984), though generally a “rea-

sonable time for agency action is typically counted in weeks or months,


                                     33
                                                                  Exhibit 14 - Page 045
    Case 1:24-cv-01204-RC Document 59-15    Filed 09/23/24 Page 47 of 58
USCA Case #23-1084    Document #1991974       Filed: 03/27/2023 Page 46 of 57



not years,” PEER, 957 F.3d at 274 (citation omitted). The Commission’s

delay here is unreasonable given the nature and time frame of the trans-

fer applications and underlying transaction.

      The broadcasters took pains to give the Commission ample time to

adjudicate the matter. The Commission’s decades-old policy is to resolve

such matters if possible within six months. FCC, Informal Timeline, su-

pra. The broadcasters filed their applications 14 months before the dead-

line for the transaction. Add. 138. From the outset, the Commission has

known of that constraint. Add. 97.

      The agency has protracted the proceeding at every turn without

justification. It afforded the challengers multiple extensions on pleading-

cycle deadlines, notwithstanding the Commission’s rules, which strongly

disfavor extensions. 47 C.F.R. § 1.46(a). The Bureau also authorized an

unprecedented three separate comment periods stretched over eight

months, and it sat on the challengers’ broad discovery requests for five

months before granting them. Finally, the Bureau (with the Commis-

sion’s tacit assent) has now directed further delay in the form of an un-

lawful and unnecessary hearing—which in historical practice has invar-

iably consumed at least 300 additional days. Under any recognizable


                                     34
                                                                Exhibit 14 - Page 046
    Case 1:24-cv-01204-RC Document 59-15    Filed 09/23/24 Page 48 of 58
USCA Case #23-1084    Document #1991974       Filed: 03/27/2023 Page 47 of 57



version of the rule of reason, those delays are irrational, unless their aim

was to kill the deal by deliberate indifference.

      Legally Applicable Deadlines. Congress has provided multiple

indications that it expects the Commission to conclude its review

promptly, within months. See Oil, Chemical & Atomic Workers Int’l Un-

ion v. Zegeer, 768 F.2d 1480, 1488 (D.C. Cir. 1985) (inferring from legis-

lative history that Congress did not intend agency to “tarry for years”).

Several provisions governing the issuance of station licenses are an-

chored around periods as short as 30 days. See, e.g., 47 U.S.C. § 307(d)

(contemplating that license-renewal requests will be decided within 30

days before expiration of original license); id. § 309(b) (requiring only 30

days after notice of application before Commission can grant application);

id. § 309(d)(1) (allowing Commission to shorten window for petitions to

deny applications to as short as 30 days if “reasonably related to the time

when the applications would normally be reached for processing”).

      Moreover, the Commission has publicly committed itself to striving

to decide transfer applications within 180 days of when they are received

“in all cases.” FCC, Informal Timeline, supra. It has invited the public




                                    35
                                                                 Exhibit 14 - Page 047
    Case 1:24-cv-01204-RC Document 59-15    Filed 09/23/24 Page 49 of 58
USCA Case #23-1084    Document #1991974       Filed: 03/27/2023 Page 48 of 57



to hold it to account by displaying the timelines of pending applications

online.

      The Commission here, however, has jettisoned any congressional

expectation of alacrity and the agency’s own public pledge to make its

best efforts to adjudicate licensing matters in six months. Indeed, this

matter had already been ongoing for more than 11 months before the Me-

dia Bureau even announced the production’s second act.

      Nature of Regulation. Although the Commission’s delay on these

license-transfer matters does not “ris[k] life and limb,” the matter entails

considerations beyond purely “economic regulation.” PEER, 957 F.3d at

274 (citation omitted). The Commission’s inaction would set back the

public-benefit goals of increasing diversity in broadcast ownership, re-

ducing market concentration, and promoting greater investment in local

news. Add. 605-616. Indeed, promoting diversity has been the Commis-

sion’s core justification in retaining its structural ownership rules. E.g.,

Sinclair Broadcasting Group, Inc. v. FCC, 284 F.3d 148, 159-60 (D.C. Cir.

2002). But now the FCC turns away a transaction that would create sig-

nificant diversity without addressing its merits.




                                    36
                                                                 Exhibit 14 - Page 048
    Case 1:24-cv-01204-RC Document 59-15     Filed 09/23/24 Page 50 of 58
USCA Case #23-1084    Document #1991974        Filed: 03/27/2023 Page 49 of 57



      Interference With Agency Priorities. Compelling the Commis-

sion to decide the applications itself will not interfere with higher-

priority agency initiatives. The Commission has identified no more

time-sensitive or important activities that it must complete before it can

resolve the applications. Indeed, subjecting the broadcasters to a pro-

longed illegal hearing will take up more of the Commission’s time and

resources than simply deciding the applications based on the briefing and

comprehensive documentary evidence already in the record.

      Prejudice From Delay. Allowing the Commission’s inaction to

persist and permanently kill the deal would severely and irreparably

prejudice the broadcasters, their employees, and the public. The trans-

action is primed to create the largest-ever minority-owned and female-

led television station group in the nation; expand opportunities for mi-

nority and female journalists and media professionals; further competi-

tion by reducing TEGNA’s market share; and substantially invest in local

news across the nation. Add. 605-616. And the nation as a whole stands

to gain if the deal can be completed because a robust and competitive

market for television media allows the press to better “fulfill its essential

role in our democracy.” Pittsburgh Press Co. v. Pittsburgh Comm’n on


                                     37
                                                                  Exhibit 14 - Page 049
    Case 1:24-cv-01204-RC Document 59-15   Filed 09/23/24 Page 51 of 58
USCA Case #23-1084    Document #1991974      Filed: 03/27/2023 Page 50 of 57



Human Relations, 413 U.S. 376, 381-382 (1973) (citation and internal

quotation marks omitted). All those benefits will be irreversibly lost un-

less this Court compels the Commission to act.

      Agency Impropriety. As discussed above, there is ample indica-

tion in this case that the Commission acted through a bureau chief—who

simultaneously serves as the Chairwoman’s legal advisor—to prevent ju-

dicial review by shunting the applications to an unlawful ALJ hearing

that will kill the transaction through delay. This Court has recognized

for decades that, although “evidentiary hearings and other procedural

devices” can be “useful—and sometimes indispensable—they may also be

exploited for unworthy purposes,” forming a “potent instrument for de-

lay.” United States v. FCC, 652 F.2d 72, 91 (D.C. Cir. 1980) (en banc). If

the Commission has any legitimate justification for sending the matter

to an unlawful and unnecessary hearing, it should be ready to substanti-

ate it.

                                  *****

      Mandamus is an extraordinary writ. But it is tailor-made for ex-

traordinary circumstances like these, in which an agency’s refusal to act

has the effect of deciding the merits while withholding judicial review.


                                   38
                                                               Exhibit 14 - Page 050
    Case 1:24-cv-01204-RC Document 59-15     Filed 09/23/24 Page 52 of 58
USCA Case #23-1084    Document #1991974        Filed: 03/27/2023 Page 51 of 57



III. The Broadcasters Have No Adequate Alternative Remedy

      Unless the broadcasters’ direct appeal goes forward, they will “lack

an adequate alternative remedy” to compel the Commission to resolve the

applications apart from mandamus.         Center for Biological Diversity,

53 F.4th at 671.

      The broadcasters, moreover, gave the Commission every oppor-

tunity to correct the agency’s errors and avert the need for relief from this

Court. All of these efforts have been expressly or silently rebuffed. The

broadcasters promptly challenged the Hearing Order as the Commis-

sion’s procedures prescribe: by requesting that the ALJ certify that issue

for immediate review by the Commission. 47 C.F.R. § 1.115(e)(1). The

ALJ denied that request. Add. 1039-1042. The broadcasters sought Com-

mission review the next day—requesting it either waive the ALJ-

certification requirement or invoke its authority to review such actions

sua sponte—and informed the Commission that, in light of the urgency,

they intended to bring the matter to this Court today (March 27). Add.

1044. As of this filing, the Commission has not acted on that request.

      The only remaining administrative avenue of review—asking the

Commission to reconsider the Hearing Order when it reviews the Media



                                     39
                                                                  Exhibit 14 - Page 051
    Case 1:24-cv-01204-RC Document 59-15    Filed 09/23/24 Page 53 of 58
USCA Case #23-1084    Document #1991974       Filed: 03/27/2023 Page 52 of 57



Bureau’s initial decision, months or (more likely) years from now—is il-

lusory. The Commission’s Enforcement Bureau has acknowledged that

the hearing process and ensuing Commission review cannot be completed

before the transaction’s deadline. Add. 1034. That back-end review

many months hence of a deal that will die in eight weeks is “not an ade-

quate means to attain the relief [the broadcasters] see[k].” In re Core

Communications, Inc., 531 F.3d 849, 860 (D.C. Cir. 2008).

                                   *****

      This license transfer should not have been difficult for the Commis-

sion to resolve. The transaction yields significant public benefits with no

demonstrated public-interest detriment. The broadcasters approached

the agency immediately after the transaction’s announcement with ro-

bust submissions demonstrating the gains. And besides answering the

numerous objections and discovery requests the Media Bureau permit-

ted, Standard General made voluntary but binding commitments to put

the challengers’ concerns definitively to rest.

      Yet instead of formally deciding the applications, the Commission

has chosen to kill the transaction by withholding a decision—more pre-

cisely, by permitting another layer of unlawful procedure that the agency


                                    40
                                                                Exhibit 14 - Page 052
    Case 1:24-cv-01204-RC Document 59-15   Filed 09/23/24 Page 54 of 58
USCA Case #23-1084    Document #1991974      Filed: 03/27/2023 Page 53 of 57



knows cannot be completed before the deal dies. That is not a responsible

exercise of congressionally delegated authority. If the broadcasters’ di-

rect appeal is dismissed, the strong medicine of mandamus is the appro-

priate—indeed, the only—judicial remedy.




                                   41
                                                               Exhibit 14 - Page 053
    Case 1:24-cv-01204-RC Document 59-15    Filed 09/23/24 Page 55 of 58
USCA Case #23-1084    Document #1991974       Filed: 03/27/2023 Page 54 of 57



                            CONCLUSION

      If this Court dismisses the broadcasters’ appeal for lack of final

agency action, it should grant the petition and issue a writ of mandamus

ordering the Commission to rule on the applications by April 28, 2023.


 March 27, 2023                         Respectfully submitted,

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                                   42
                                                                  Exhibit 14 - Page 054
    Case 1:24-cv-01204-RC Document 59-15    Filed 09/23/24 Page 56 of 58
USCA Case #23-1084    Document #1991974       Filed: 03/27/2023 Page 55 of 57




                  CERTIFICATE OF COMPLIANCE

      Pursuant to Federal Rule of Appellate Procedure 32(g)(1), the un-

dersigned certifies that this mandamus petition complies with the appli-

cable typeface, type style, and type-volume limitations. This petition was

prepared using a proportionally spaced type (New Century Schoolbook,

14 point). Exclusive of the portions exempted by Federal Rule of Appel-

late Procedure 32(f) and D.C. Circuit Rule 32(e)(1), this petition contains

7,652 words. This certificate was prepared in reliance on the word-count

function of the word-processing system used to prepare this petition.


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                                                                Exhibit 14 - Page 055
    Case 1:24-cv-01204-RC Document 59-15   Filed 09/23/24 Page 57 of 58
USCA Case #23-1084    Document #1991974      Filed: 03/27/2023 Page 56 of 57



                    CERTIFICATE OF SERVICE

      I hereby certify that, on March 27, 2023, I electronically filed the

foregoing mandamus petition with the Clerk for the United States Court

of Appeals for the District of Columbia Circuit using the appellate

CM/ECF system. Participants in the case who are registered CM/ECF

users will be served by the appellate CM/ECF system.

      I further certify that I have caused the foregoing petition to be

served by FedEx overnight service and by electronic mail on the Commis-

sion and on parties to the proceedings before the Commission as follows:

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                                                               Exhibit 14 - Page 056
    Case 1:24-cv-01204-RC Document 59-15   Filed 09/23/24 Page 58 of 58
USCA Case #23-1084    Document #1991974      Filed: 03/27/2023 Page 57 of 57



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                                                               Exhibit 14 - Page 057
